            Case 1:16-cv-01368-JDB Document 30 Filed 07/09/18 Page 1 of 6



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


CHRISTIAN W. SANDVIG et al.,

                           Plaintiffs,
                                                             Case No. 1:16-cv-1368 (JDB)
v.

JEFFERSON B. SESSIONS, III, in his official
  capacity as Attorney General of the United
                    States,

                          Defendant.


               PLAINTIFFS’ PROPOSAL FOR FURTHER PROCEEDINGS

       Pursuant to Fed. R. Civ. P. 26(f), Local Civil Rule 16.3, and this Court’s Minute Order of

June 8, 2018, Plaintiffs file this proposal for further proceedings. The parties have agreed to file

separate proposals.

       I.       Statement of the Case

       Plaintiffs filed this lawsuit in June 2016 challenging the constitutionality of a provision of

the Computer Fraud and Abuse Act (“CFAA”) that prohibits accessing a protected computer in a

manner that “exceeds authorized access.” See 18 U.S.C. § 1030(a)(2)(C) (the “Challenged

Provision”). See ECF No. 1. The Challenged Provision prohibits and chills academics,

researchers, and journalists from testing for discrimination on the Internet. The Defendant

Attorney General of the United States, sued in his official capacity, filed a Motion to Dismiss the

Plaintiffs’ claims in June 2016. See ECF No. 10. This Court granted in part and denied in part the

Defendant’s Motion to Dismiss in a Memorandum Opinion and Order on March 30, 2018. See

ECF Nos. 23, 24.




                                                  1
          Case 1:16-cv-01368-JDB Document 30 Filed 07/09/18 Page 2 of 6



       Per this Court’s Memorandum Opinion, Plaintiffs Christo Wilson and Alan Mislove have

plausibly stated a claim that the Challenged Provision would prohibit their “plan to ‘create

profiles containing false information,’ and ‘access websites using artificial tester profiles, in

violation of [ToS] that prohibit providing false information,” and therefore violate the First

Amendment. See ECF No. 24 at 37–38 (internal citations omitted).

       This Court granted the parties’ joint motions to continue the status conference and for an

extension of time to file joint or separate proposals as to how the case should proceed, in order to

engage in efforts to resolve the matter through settlement. See ECF Nos. 27, 28 and Minute

Orders of May 10, 2018 and June 8, 2018. Despite good-faith efforts on both sides, the parties

were unable to reach agreement on a settlement, and Plaintiffs hereby file this Proposal for

Further Proceedings pursuant to the Court’s June 8, 2018 Minute Order.

       II.     Plaintiffs’ Position on Discovery and Motion Schedule

       It is Plaintiffs’ position that discovery is unnecessary in this case, and therefore the

Plaintiffs wish to proceed directly to filing a Motion for Summary Judgment. In order to resolve

the Plaintiffs’ as-applied claim, the Court need consider only questions of law and undisputed

fact. The Plaintiffs’ Complaint seeks declaratory and injunctive relief enabling them to engage in

future testing of websites free from the risk of prosecution under the Challenged Provision. This

Court, in its Memorandum Opinion, held that intermediate scrutiny applies, and that the

government must satisfy the requirement of narrow tailoring of the Challenged Provision to its

interests. ECF No. 24 at 37. This Court also noted that, “[a]t this early stage, the government has

not put forward any evidence to show that prosecuting those who provide false information when

creating accounts, without more, would advance its interest in preventing digital theft or




                                                  2
          Case 1:16-cv-01368-JDB Document 30 Filed 07/09/18 Page 3 of 6



trespass” and that “presuming the allegations in the complaint to be true, it appears that the

government’s interest ‘is not implicated on these facts’” at all. Id.

       Plaintiffs require no discovery and intend to seek summary judgment on the grounds that

the Challenged Provision cannot satisfy intermediate scrutiny as applied to the remaining

Plaintiffs’ research plans. Plaintiffs seek to enjoin the Defendant from enforcing the Challenged

Provision as applied to the First Amendment-protected activities described in the Complaint,

which they have defined to be only those done without “the intent to cause harm to any target

websites’ operations” or where “any harm that may result is de minimis.” ECF No. 1 ¶ 184.

Accordingly, Plaintiffs’ position is that the Defendant requires no discovery because the

government’s interest in preventing digital theft or trespass “is not implicated . . . at all” when

the conduct is defined to exclude fraud or material harm, and involves only “viewing information

that a website makes available to anyone who chooses to create a username and password,” see

ECF No. 24 at 37–38. Given that Plaintiffs seek pre-enforcement, injunctive relief to protect

research activities, including activities which they have not yet undertaken, no facts in Plaintiffs’

possession can be necessary to the Defendant here.

       Nor does the remaining claim turn on the specific terms of service of identified

websites—Plaintiffs seek injunctive and declaratory relief that the Challenged Provision cannot

be enforced when they test a website with terms of service prohibiting them from providing false

information. Plaintiffs cannot identify in advance all such websites that they may wish to test,

nor what their terms of service may be on any future date. To the extent the Defendant claims a

need for specifically identified terms of service, the Plaintiffs have offered to stipulate to existing

website terms of service that prohibit providing false information as exemplars. Plaintiffs cannot

be required to disclose to Defendant in advance the precise and exhaustive list of websites they



                                                  3
            Case 1:16-cv-01368-JDB Document 30 Filed 07/09/18 Page 4 of 6



plan to test; first, because they do not know at this time all the websites they may seek to test,

and second, because their tests could become scientifically invalid if those websites learn of

Plaintiffs’ intentions through third-party discovery or otherwise.

       Finally, to the extent Defendant seeks discovery regarding Plaintiffs’ injury, that injury is

already clear as a matter of law: because (as the Court has already held) there is a credible threat

of prosecution, Plaintiffs are chilled from conducting the research they wish to conduct. See ECF

No. 24 at 21–23.

       III.     Proposed Schedule

       Although Plaintiffs maintain that no discovery is necessary in this case, should the Court

order discovery, the Plaintiffs propose a 90-day discovery period. The Plaintiffs also propose that

the initial disclosures required under Fed. R. Civ. P. 26(a) be due seven days after the entry of

this Court’s scheduling order. Plaintiffs contend that this abbreviated discovery period is

appropriate given that there are only two Plaintiffs remaining with claims and given the lack of

need for extensive factual development.

       Accordingly, should the Court not order discovery, Plaintiffs propose the following

schedule:

       – Plaintiffs will file their motion for summary judgment by August 7.

       – Defendants will oppose by September 7.

       - Plaintiffs will reply by September 21.

       Alternatively, should the Court order discovery, Plaintiffs propose the following

schedule:

   -   Rule 26(a) initial disclosures: 7 days after entry of scheduling order

   -   Close of Discovery: 90 days after entry of scheduling order



                                                  4
         Case 1:16-cv-01368-JDB Document 30 Filed 07/09/18 Page 5 of 6



   -   Briefing on Plaintiffs’ motion for summary judgment:

          o Plaintiffs’ motion for summary judgment: 30 days after close of discovery

          o Defendant’s response: 30 days after Plaintiffs file motion for summary judgment

          o Plaintiffs’ reply: 15 days after Defendant’s response



Dated: July 9, 2018                        Respectfully submitted,

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                                              5
         Case 1:16-cv-01368-JDB Document 30 Filed 07/09/18 Page 6 of 6



                                CERTIFICATE OF SERVICE

       I certify that on July 9, 2018, I caused a copy of the foregoing to be filed electronically

through the CM/ECF system. Participants in the case who are registered CM/ECF users will be

served by the CM/ECF system.



                                                      /s/ Esha Bhandari

                                                      Esha Bhandari

                                                      Attorney for Plaintiff




                                                 6
